Case 6:07-cv-00655-GAP-KRS Document 126 Filed 10/07/08 Page 1 of 8 PageID 4262




                                UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                           O RLANDO D IVISION

    DESIGN PALLETS, INC., DOUGLAS
    OLVEY, LARRY SKETO, and STAN SMITH,

                                  Plaintiffs,

    -vs-                                                      Case No. 6:07-cv-655-Orl-31KRS

    GRAY ROBINSON, P.A.,

                            Defendant.
    _________________________________________

                                                 ORDER

           This matter came before the Court without oral argument upon consideration of

    Defendant’s Motion for Attorneys’ Fees and Costs (Doc. 110), Plaintiffs’ response in opposition

    thereto (Doc. 119), and Defendant’s Reply (Doc. 122).1

    I. Background2

           In August 2007, Plaintiffs, Design Pallets, Inc., Douglas Olvey, Larry Sketo, and Stan

    Smith (collectively, “Design Pallets” or “Plaintiffs), filed their Second Amended Complaint

    against Defendant, Gray Robinson, P.A. (“Gray”), alleging violations of Florida’s civil RICO

    statute, two violations of the federal RICO statute, legal malpractice, aiding and abetting breach of

    fiduciary duty, civil theft, violations of Florida’s Deceptive and Unfair Trade Practices Act, and



           1
            In connection with its motion for fees and costs, Defendant also filed a related Bill of Costs
    (Docs. 112 and 115), which Plaintiffs have similarly opposed (Doc. 116).
           2
            A detailed account of the factual allegations and procedural history of this case may be found
    in the Court’s August 5, 2008 Order on Defendant’s Motion for Summary Judgment (Doc. 106).
Case 6:07-cv-00655-GAP-KRS Document 126 Filed 10/07/08 Page 2 of 8 PageID 4263




    fraud. With the exception of the two federal RICO counts, all of Design Pallets’ claims were

    governed by Florida substantive law. Accordingly, the Court had subject matter jurisdiction over

    the federal RICO claims pursuant to 28 U.S.C. § 1331, and supplemental jurisdiction over the

    remaining State law claims pursuant to 28 U.S.C. § 1367. Diversity jurisdiction was not asserted

    by either party inasmuch as Design Pallets and Gray are both citizens of Florida.

           On August 5, 2008, after a hearing on Gray’s Motion for Summary Judgment, the Court

    granted summary judgment in favor of Gray on all of Design Pallets’ federal claims (Doc. 106).

    Having disposed of the federal claims, the Court declined to exercise supplemental jurisdiction

    over the remaining State law claims. Id. Importantly, then, judgment has been entered in favor of

    Gray on only the federal claims (Doc. 107) – the Court dismissed Design Pallets’ State law claims

    without prejudice for Plaintiffs to re-file in State court and thus did not address any issues of

    Florida law.

           In its Motion for Attorneys’ Fees and Costs (“Motion”) (Doc. 110), Gray seeks its

    attorneys’ fees pursuant to FLA . STAT . § 768.79 (“§ 768.79") and its costs pursuant to FED . R. CIV .

    P. 54 and 68.3 Gray predicates its Motion on a May 9, 2008 Offer of Judgment (“Offer”),

    pertaining to Counts I-IV4 of Design Pallets’ Second Amendment Complaint, which was made

    pursuant to § 768.79 and FED . R. CIV . P. 68. However, inasmuch as Gray is only a prevailing




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               The issue of costs under FED . R. CIV . P. 54 and 68 will be addressed in a separate order.
           4
            Count I was for violations of Florida’s civil RICO statute; Count II, which was dismissed by
    the Court on August 6, 2007 (Doc. 41), was for violations of the federal RICO statue, 18 U.S.C. §
    1962(b); Count III was for violations of the federal RICO statute, 18 U.S.C. § 1962(c); and Count IV
    was for violations of the federal RICO statute, 18 U.S.C. § 1962(d).

                                                        -2-
Case 6:07-cv-00655-GAP-KRS Document 126 Filed 10/07/08 Page 3 of 8 PageID 4264




    defendant, FED . R. CIV . P. 68 is not applicable.5 Accordingly, Gray’s Motion for attorneys’ fees

    rests entirely upon the Florida statute, § 768.79.

    II. Analysis – Recovery of Attorneys’ Fees for Federal Claims Under FLA . STAT. § 768.79

           In pertinent part, § 768.79 provides:

           In any civil action for damages filed in the courts of this state, if a defendant files an offer
           of judgment which is not accepted by the plaintiff within 30 days, the defendant shall be
           entitled to recover reasonable costs and attorney’s fees incurred by her or him...from the
           date of filing of the offer if the judgement is one of no liability or the judgment obtained by
           the plaintiff is at least 25 percent less than such offer, and the court shall set off such costs
           and attorney’s fees against the award.

    FLA . STAT . § 768.79(1) (2007).

           Relying on, inter alia, the recent decision in Menchise v. Akerman Senterfitt, 532 F.3d

    1146 (11th Cir. 2008), Gray contends that § 768.79 should apply to federal as well as State claims,

    regardless of the basis for the Court’s subject matter jurisdiction or whether the Court has

    addressed any of the State law claims alleged in a plaintiff’s complaint.

           Akerman involved an adversary proceeding in bankruptcy in which the bankruptcy judge

    was sitting, in essence, as a State court judge deciding issues of substantive Florida law

    (specifically, a legal malpractice claim). 532 F.3d at 1147. In this scenario, it is only logical that §

    768.79, being substantive law under Erie,6 would apply to the resolution of Florida substantive law



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            While FED . R. CIV . P. 68 is limited to “costs,” costs may include attorneys’ fees if the
    substantive law governing the claim for which an offer of judgment was made defines costs to include
    attorneys’ fees. Marek v. Chesny, 473 U.S. 1, 8-9 (1985). However, Rule 68 does not apply where
    the defendant-offeror has received judgment in its favor. See Delta Air Lines, Inc. v. August, 450 U.S.
    346, 351-52 (1981).
           6
             See, e.g., Jones v. United Space Alliance, LLC, 494 F.3d 1306, 1309 (11th Cir. 2007)(“This
    circuit has found § 768.79 to be substantive law for Erie purposes.”).

                                                         -3-
Case 6:07-cv-00655-GAP-KRS Document 126 Filed 10/07/08 Page 4 of 8 PageID 4265




    claims. The same, of course, would be true where a federal district court judge sits in diversity and

    decides purely State law claims. Jones v. United Space Alliance, LLC, 494 F.3d 1306 (11th Cir.

    2007); McMahon v. Toto, 256 F.3d 1120, 1132 (11th Cir. 2001), modified in part by 311 F.3d

    1077 (11th Cir. 2002).

           Conversely, it is equally clear that a federal judge whose jurisdiction is founded solely on a

    federal question would not apply § 768.79 to the resolution of federal claims inasmuch as § 768.79

    is preempted by federal law. In the seminal case of Alyeska Pipeline Serv. Co. v. Wilderness

    Soc’y, 421 U.S. 240 (1975), the U.S. Supreme Court exhaustively reviewed the history,

    application, and exceptions to the ‘American Rule,’which generally prohibits a prevailing party

    from recovering its attorneys’ fees in federal litigation. Since 1796 – as either a matter of judicial

    custom or, after 1853, as a matter of federal statute – the Supreme Court concluded that it had

    consistently adhered to the American Rule and would not, absent a federal statute, allow awards of

    attorneys’ fees in federal courts to prevailing parties. Id. at 249-52 (citations omitted).

           Although...Congress has made specific provision for attorneys’ fees under certain federal
           statutes, it has not changed the general statutory rule that allowances for counsel fees are
           limited to the sums specified by the costs statute. The 1853 Act was carried forward in the
           Revised Statutes of 1874 and by the Judicial Code of 1911. Its substance, without any
           apparent intent to change the controlling rules, was also included in the Revised Code of
           1948 as 28 U.S.C. §§ 1920 and 1923(a). That section provides that ‘(a)ttorney’s and
           proctor’s docket fees in courts of the United States may be taxed as costs as follows....’
           Against this background, this Court understandably declared in 1967 that with the
           exception of the small amounts allowed by § 1923, the rule ‘has long been that attorney’s
           fees are not ordinarily recoverable....’ Fleischmann Distilling Corp., 386 U.S., at 717, 87
           S.Ct., at 1407. Other recent cases have also reaffirmed the general rule that, absent statute
           or enforceable contract, litigants pay their own attorneys’ fees. See F.D. Rich Co., 417
           U.S., at 128-131, 94 S.Ct., at 2164-2166; Hall v. Cole, 412 U.S. 1, 4, 94 S.Ct. 1943, 1945,
           36 L.Ed.2d 702 (1973).




                                                      -4-
Case 6:07-cv-00655-GAP-KRS Document 126 Filed 10/07/08 Page 5 of 8 PageID 4266




     Id. at 254-56. Accordingly, the Supreme Court reversed the D.C. Circuit Court of Appeals, which

    had adopted a judicially-crafted, ‘private attorney general’ exception to the American Rule for

    cases implicating important statutory or constitutional rights. Id. at 245-247. In reaching its

    decision, the Court relied on the 1853 Act, codified today at 28 U.S.C. § 1920 et seq. (the “Costs

    Statute”), as forestalling any “roving authority to the Judiciary to allow counsel fees as costs or

    otherwise whenever the courts might deem them warranted.” Id. at 260. The Court then went on

    to examine some instances in which Congress had created statutory exceptions to the American

    Rule. “What Congress has done, however, while fully recognizing and accepting the general rule,

    is to make specific and explicit provisions for the allowance of attorneys’ fees under selected

    statutes granting or protecting various federal rights.” Id. Under this statutory scheme, the Court

    concluded, “it is apparent that the circumstances under which attorneys’ fees are to be awarded and

    the range of discretion of the courts in making those awards are matters for Congress to

    determine.”7 Id. at 262.

            While Alyeska Pipeline dealt with a judicially-crafted exception to the American Rule, the

    rationale of Alyeska applies equally here. Based on more than 150 years of statutory history and

    parallel Supreme Court precedents, Congress has rather clearly “occupied the field” concerning the

    provision of attorneys’ fee awards for federal claims. Indeed, it is a fundamental principle of the



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             Consistent with the Eleventh Circuit’s decisions in Akerman and its predecessors, however,
    the Supreme Court observed that this rule could give way in diversity cases. “A very different
    situation is present when a federal court sits in a diversity case. ‘(I)n an ordinary diversity case where
    the state law does not run counter to a valid federal statute or rule of court, and usually it will not, state
    law denying the right to attorney’s fees or giving a right thereto, which reflects a substantial policy of
    the state, should be followed.’” Alyeska Pipeline Serv. Co., 421 U.S. at 260 n. 31 (citations omitted).


                                                         -5-
Case 6:07-cv-00655-GAP-KRS Document 126 Filed 10/07/08 Page 6 of 8 PageID 4267




    Constitution that Congress has the power to preempt state law. U.S. CONST . ART . VI, § 1, cl. 2;8

    see also, e.g., McCulloch v. Maryland, 17 U.S. (4 Wheat.) 316, 436, 4 L.Ed. 579 (1819); Gibbons

    v. Ogden, 22 U.S. (9 Wheat.) 1, 6 L.Ed. 23 (1824). Even without an express provision for

    preemption, the Supreme Court has found that State law must yield to a congressional act

    whenever Congress intends federal law to “occupy the field” or, even if Congress has not occupied

    the field, where there is nevertheless a conflict between a State law and a federal statute. Crosby v.

    Nat’l Foreign Trade Council, 530 U.S. 363, 372 (2000) (citations omitted). While the federal

    Costs Statute does not expressly preempt State law, pursuant to Alyeska Pipeline, this 155-year-old

    statute clearly demonstrates Congress’ intent to occupy the field. Thus, the Supremacy Clause and

    the Costs Statute preempt § 768.79 where a district court’s jurisdiction is founded solely on a

    federal question.

           The problem presented here, however, is that of a hybrid situation where the district court

    has dual jurisdiction (i.e., federal question claims and State law claims – whether by supplemental

    or diversity jurisdiction). That was the situation in Keesee v. Bank of Am., 371 F.Supp.2d 1370

    (M.D. Fla. 2005), in which the plaintiff alleged both a Title VII claim under 42 U.S.C. § 2000 et

    seq. and a Florida’s Civil Rights Act claim under FLA . STAT . § 760 et seq. In Keesee, both the




           8
             “This Constitution, and the Laws of the United States which shall be made in Pursuance
    thereof; and all Treaties made, or which shall be made, under the Authority of the United States, shall
    be the supreme Law of the Land; and the Judges in every State shall be bound thereby, any Thing in
    the Constitution or Laws of any State to the Contrary notwithstanding” (emphasis added).

                                                      -6-
Case 6:07-cv-00655-GAP-KRS Document 126 Filed 10/07/08 Page 7 of 8 PageID 4268




    federal claim and the state law claim were litigated to conclusion and the defendant was the

    prevailing party as to each claim.9

           This case is a variation of Keesee. Although the Court had supplemental jurisdiction over

    the State law claims, it ultimately declined to exercise that jurisdiction and did not resolve those

    claims. Thus, Gray can be deemed a prevailing party only as to the federal claims. Accordingly,

    this situation is akin to those instances in which only federal claims are resolved and the Costs

    Statute preempts § 768.79.10

     III. Conclusion

           The Court holds that § 768.79 applies only to State law claims. Consistent with Akerman

    and other Eleventh Circuit precedents, § 768.79 is substantive – not procedural – and applies only

    to underlying Florida causes of action. However, by virtue of the Supremacy Clause and the Costs

    Statute, § 768.79 cannot be the basis for shifting one party’s attorneys’ fees to another on a federal

    claim. Only Congress may create exceptions to the American Rule where federal claims are at

    issue. Accordingly, where a federal court has subject matter jurisdiction over a federal question


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             Notwithstanding the fact that the defendant had prevailed on the State law claim, the Court
    refused to apply § 768.79, finding that Title VII – not the Costs Statute – preempted § 768.79.
    Keesee, 371 F.Supp.2d at 1377 (M.D. Fla. 2005). In reaching that conclusion, the Court observed, in
    dicta, that § 768.79 was probably procedural – rather than substantive – for Erie purposes. Id. at 1377
    n. 3. While the Eleventh Circuit has abrogated that portion of Keesee, to the extent there was a
    conflict with other precedents holding that § 768.79 is substantive law for Erie purposes, Akerman,
    532 F.3d 1146, 1150 (11th Cir. 2008), Keesee did not purport to undertake an Erie analysis. Keesee,
    371 F.Supp.2d at 1377 (“Regardless of how an Erie analysis would turn out, the beginning and end
    of the analysis in this federal-question case is whether Section 768.79 is inconsistent with federal
    law.”).
           10
              As a practical matter, even if Gray were entitled to fees for the defense of the State law
    claims, the allocation of fees to that defense would be minimal inasmuch as defense counsel’s efforts
    after the offer of judgment were focused almost exclusively on the federal claims.

                                                      -7-
Case 6:07-cv-00655-GAP-KRS Document 126 Filed 10/07/08 Page 8 of 8 PageID 4269




    only, § 768.79 does not apply. Where the Court has both a federal question and supplemental or

    diversity jurisdiction over Florida claims, § 768.79 applies only to the Florida claims. However,

    should the Court dispose of all the federal claims, not address the Florida claims by declining to

    exercise its supplemental jurisdiction, and then dismiss the Florida claims without prejudice,

    § 768.79 is not triggered because the defendant was not a prevailing party with respect to any of

    the State claims.

           Here, the Court had both federal question and supplemental subject matter jurisdiction.

    Although the majority of Design Pallets’ claims were State law claims, the Court disposed of

    Design Pallets’ federal claims without addressing any of the Florida claims. Accordingly,

    § 768.79 does not apply.

           For the foregoing reasons, it is hereby ORDERED that Defendant Gray Robinson’s

    Motion for Attorneys’ Fees and Costs is DENIED insofar as it requests an award of attorneys’

    fees. Gray Robinson’s request for costs will be addressed in a separate order.


           DONE and ORDERED in Chambers, Orlando, Florida on October 7, 2008.


    Copies furnished to:


    Counsel of Record
    Unrepresented Party




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